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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISANA

In Re: Oil Spill by the Oil Rig          *     MDL NO. 2179
       “Deepwater Horizon” in the        *
       Gulf of Mexico, on April 20, 2010 *     SECTION: J
                                         *
                                         *
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       This Document Relates To:         *     JUDGE BARBIER
       Case No. 2:10-cv-08888-CJB-SS *
                                         *     MAGISTRATE JUDGE SHUSHAN
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                                  ATTACHMENT A

                     Plaintiffs              Termination Date            MDL Document No.
      Wayne Hartung                                    5/16/2012                              63465
      Shannon R Smith                                  5/16/2012                              65844
      Wilbu Forehand                                   5/16/2012                              47262
      Robert Dale                                      5/16/2012                              25266
      Robert L. Burgess                                5/16/2012                                 86
      Patrick Kenny                                    5/16/2012                              57003
      Nancy R. Blackmon                                5/16/2012                              47243
      Michael Kirksey                                  5/16/2012                              57066
      Manuel Heidelberg                                5/16/2012                             252900
      Melton Edwards                                   5/16/2012                             112739
      Caroline Caleb                                   5/16/2012                             112733
      Clifton Grove                                    5/16/2012                              70821
      Chandler S. Green                                5/16/2012                              57501
      Charles Caleb                                    5/16/2012                             112735
      Darrell Jones                                    5/16/2012                              52941
      Elizabeth Kenny                                  5/16/2012                              56999
      Henry Lee Davis                                  5/16/2012                                395
      Joseph Helm                                      5/16/2012                                397
      Leonard Busby                                    5/16/2012                             108000
      Lorraine Krohn                                   5/16/2012                              47297
                                                                                             25305;
      Robyn Hill                                       6/7/2012    Case action No: 1:10‐cv‐471‐CG‐N
